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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

     MOTION TO COMPEL COMPLETE REPORT OF THE SPECIAL COUNSEL

       The Special Counsel drafted a Report regarding his investigation into any links and/or

coordination between the Russian government and individuals associated with the campaign of

President Donald Trump, and any matters that directly arose from that investigation.1 Roger

Stone has been indicted by the Special Counsel pursuant to the appointment by the Deputy

Attorney General who authorized the investigation. Roger Stone, through counsel, has a right to

review the Special Counsel’s full Report. Roger Stone is the only person with a compelling case

for standing to demand the Report and his demand is pursuant to the Fifth and Sixth

Amendments. His lawyers must be allowed to review the Report in its entirety because it

contains the government's evidence and conclusions on matters essential to Stone's defense.

Starting with the base assumptions by the Special Counsel that Russians hacked the Democratic

National Committee, Democratic Congressional Campaign Committee, and Clinton Campaign

email databases (see Indictment, ¶¶ 1-3, 7, 18, 20, 39); and ending with decisions why others

were selectively not prosecuted for overtly committing similar offenses, and who are likely


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  Order No. 3915-2017, Appointment of Special Counsel to Investigate Russian Interference with the 2016
Presidential Election and Related Matters. Attached as Exhibit 1.
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witnesses in the case (see Indictment, ¶¶ 9, 13, 14, 28, 30, 32, 33, 34, 37 – “Person 1,” and

passim, “Person 2”). To be clear, Stone is not requesting the Report be disclosed to the world –

only to his counsel so that it may aid in preparing his defense.

       The limited disclosure of the Report to defense counsel will likely support Stone’s

constitutional argument that there was no referral from Congress to the Department of Justice.

Argued in a companion motion contemporaneously filed, Congress did not refer Stone’s case to

the Department for investigation. Because there was no referral from Congress, the Special

Counsel’s investigation was a violation of the separation of powers, particularly since a

proactive, self-initiated investigation violates the Appointment Order as well as the Constitution.

Furthermore, without a referral from Congress and without the presentation of any witness

present in the House Committee room when Stone appeared, no one testified to the Grand Jury

that Stone’s testimony was material to the House Committee’s investigation. Indeed, the Special

Counsel would have to prove at trial that a conspiracy existed to interfere with the 2016

presidential election and that it involved the Russian government, before Stone could be charged

with obstructing an investigation into that Russian conspiracy. In fact, the Attorney General

stated as much in a memo he wrote: “. . . the President’s motive . . . could not have been

‘corrupt’ unless the President and his campaign were actually guilty of illegal collusion.”

(Memorandum, Bill Barr to Deputy Attorney General Rosenstein, June 8, 2018 at 3) (attached as

Exhibit 2). Therefore, the entire theory of obstruction is “entirely dependent on first finding

collusion. . .” Id. Either the Special Counsel’s Report provides the answer to these questions or

it does not; either way, the Report will provide evidence necessary to prepare a defense for trial

or provide evidence to support motions to dismiss.




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       Furthermore, Jerome Corsi and Randy Credico are witnesses for the prosecution. They

both could have been charged with lying to the FBI or the grand jury. Neither was charged with

any crime. Indeed, Corsi disclosed to the world a draft of an Indictment, Statement of Facts, and

Plea Agreement sent to him by the Special Counsel’s Office for his signature. Certainly there

must be an explanation for that sequence of events. The Report would likely explain why those

documents and criminal charges were not pursued. Stone would be entitled to know why the

Special Counsel’s position changed vis a vis Corsi and why it allowed Credico to remain in a

state of grace. See Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150,

154 (1972); Napue v. Illinois, 360 U.S. 264, 269 (1959); United States v. Bagley, 473 U.S. 667,

675 (1985); Kyles v. Whitley, 514 U.S. 419 (1995).

       The law in this Circuit comes from review of the Independent Counsel statute. In those

cases, the courts considered whether the Independent Counsel reports should be disclosed to the

public. See In re North, 16 F.3d 1234 (1994) (Iran-Contra). North required the Special Counsel

to provide a closing report which he completed. See 28 C.F.R. § 600.8(c). Most prosecutions do

not provide a report during an investigation and trial, but the SCO was required to create one

(they are now required to produce them to criminal defendants). The Independent Counsel was

appointed by the judiciary. North, 16 F.3d at 1239. The Special Counsel, however, was not. The

Court, therefore, should not be concerned whether the public would consider the Report as

having the imprimatur of the judiciary. See Id. at 1240.

       North is guiding here: “[u]pon reflection on all the arguments brought before us, and on

all the things and matters of record, we conclude that it is in the public interest that this matter of

extended national controversy be afforded as full a conclusion as possible. Therefore, rather than




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extend the controversy over the supposed, reported, or suspected contents of the Report, we have

determined that the public interest will be served by actual disclosure.” Id. at 1246.

       Generally, the concern would be that innocent witnesses or others might suffer a

reputational attack if they are exposed as being investigated or mentioned in a Report. See In re

Cisneros, 426 F.3d 409, 412 (D.C. Cir. 2005). That would not be the situation here because

Stone is requesting private disclosure to his defense team for review. Since North, the Courts

have consistently disclosed Reports produced by the Independent Counsel. In re Espy, 259 F.3d

725, 730 (D.C. Cir. 2001); In re Special Proceedings, 842 F. Supp. 2d 232, 236 (D.D.C. 2012)

(Sen. Ted Stevens). The Court has a Protective Order in place regarding discovery that would

apply in full force and effect to the Special Counsel’s Report. (Dkt. # 22).


                                         CONCLUSION

       The Court should grant Roger Stone’s motion to compel the Office of Special Counsel’s

Report. The Report would be reviewed by defense counsel subject to the Protective Order

currently in place and any references to the Report would be made under seal.




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                                       Respectfully submitted,

                                      By: /s/_______________

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 12, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                                    By: /s/ Robert Buschel
                                                        Robert C. Buschel




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